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 1   ROBERT W. RAINWATER, CA. Bar No. 67212
     Rainwater Law Group
 2   Designated Counsel for Service
     1430 Willamette Street, Suite 492
 3   Eugene, Oregon 97401-4049
     Telephone: (541) 344-1785
 4
 5
 6   Attorney for Defendant
     LARRY DONNELL JONES
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 8
 9                                IN THE UNITED STATES DISTRICT COURT
10                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,             )             NO. 1:07-cr-00272 LJO
                                           )
14                     Plaintiff,          )            STIPULATION PERMITTING DEFENDANT
                                           )            TO TRAVEL TO ALABAMA; AND ORDER
15         v.                              )
                                           )
16   LARRY DONNELL JONES,                  )
                                           )
17                     Defendant.          )             Judge: Hon. Sandra M. Snyder
                                           )
18   _____________________________________ )
19
20          IT IS HEREBY STIPULATED by and between the parties, through their respective counsel, that
21   Larry Donnell Jones be permitted to travel to Huntsville, Alabama from Anchorage, Alaska on April 12,
22   2010 and return to Anchorage, Alaska, on April 14, 2010. Mr. Jones will be attending a work related
23   training seminar in Huntsville, Alababma during that time period. Mr. Jones is permitted to travel for
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 1   purposes of attending the training. Pre-Trial Services does not object to the proposed travel. All other
 2   conditions of release are in full force and effect.
 3                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
 4
 5   DATED: April 5, 2010                           By /s/ Mark J. McKeon
                                                    Assistant United States Attorney
 6                                                  Attorney for Plaintiff
 7   DATED: April 5, 2010
 8                                                  /s/ Robert W. Rainwater
                                                    ROBERT W. RAINWATER
 9                                                  Attorney for Defendant
                                                    LARRY DONNELL JONES
10
11                                                         ORDER
12            Larry Donnell Jones is hereby permitted to travel from his residence in Alaska on or about April
13   12, 2010, for travel to Alabama, and to return to Anchorage, Alaska, on or about April 14, 2010. All other
14   conditions of release are in full force and effect.
15
     IT IS SO ORDERED.
16
     Dated:      April 5, 2010                          /s/ Sandra M. Snyder
17   icido3                                      UNITED STATES MAGISTRATE JUDGE
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     Jones - Travel Request                                 -2-
